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10

11                                UNITED STATES DISTRICT COURT

12                               NORTHERN DISTRICT OF CALIFORNIA

13                                       SAN JOSE DIVISION

14

15    FEDERAL TRADE COMMISSION,                          )   Case No. 5:17-cv-00220-LHK
                                                         )
16                  Plaintiff,                           )
                                                         )   HUAWEI’S MOTION TO SEAL
17            v.                                         )   CERTAIN TRIAL TESTIMONY AND
18                                                       )   EXHIBITS
      QUALCOMM INCORPORATED,                             )
19                                                       )
                    Defendant.
                                                         )
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                                          HUAWEI’S MOTION TO SEAL
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 1            Pursuant to Civil Local Rule 79-5 and the Court’s Pretrial Conference Order (Dkt. 1003),

 2   third party Huawei Device USA, Inc. (“Huawei”) respectfully moves the Court to permit sealing of

 3   certain trial testimony and exhibits that contain Huawei confidential information.

 4            The Court’s Pretrial Conference Order provides that “[b]y December 17, 2018, each party

 5   shall provide notice to third parties of any third-party confidential information that may be disclosed

 6   at trial, so that the third party may seek to seal their information…This December 17, 2018 deadline

 7   applies to deposition testimony, trial testimony, and demonstratives.” Dkt. 1003 at 1. Huawei

 8   received the requisite notices from the parties on the deadline, notified the parties of specific

 9   information Huawei might move to seal on December 28, 2018 as the parties requested, and received

10   a revised (narrowed) notification from the FTC on December 31, 2018 and Qualcomm on January 2,

11   2018 identifying information that the parties intend to introduce on January 4, 2018.

12            Huawei now moves to seal the following designated deposition testimony and exhibits that it

13   understands the parties intend to introduce at trial on or about January 4, 2018 because they reflect

14   the terms of confidential license agreements and/or information relating to on-going confidential

15   license negotiations, the public disclosure of which would harm Huawei’s competitive standing:

16        Document        Party         Portions to be Sealed             Relevant    Basis for Sealing &
17                       Claiming                                         Standard     Any Explanations
                      Confidentiality                                    for Sealing
18       Deposition   Huawei Device 47:17-48:14; 70:3-5;                 Compelling Declaration of Steven
         Testimony of USA, Inc.       70:8-9; 70:12-15; 70:20-           reasons     M. Geiszler In
19       Nanfen       (“Huawei”)      23; 116:7-8; 116:13-16;                        Support of Huawei’s
         (Nancy) Yu                   116:19-20; 121:6-11;                           Motion to Seal
20       (“Yu                         122:5-11; 122:21-123:1;                        (“Geiszler
21       Deposition”)                 132:13-24; 160:22-161:7;                       Declaration”) ¶¶ 4-5
         (Exhibit 1                   162:2-5; 185:7-186:4;
22       hereto)                      195:23-196:13; 218:2-7;
                                      218:18-21 1
23       CX-1101      Huawei          Pages 2-3 (Huawei-                 Compelling Geiszler Declaration
         (Exhibit 2                   Qualcomm-00012572 to               reasons    ¶¶ 4-5
24
         hereto)                      73)
25

26   1
       For the Court’s convenience, these portions have been highlighted in yellow in Exhibit 1 hereto.
27   Huawei notes that the Yu Deposition contains other confidential information that Huawei does not
     seek to seal at this time, because the parties have not indicated to Huawei that they plan to introduce
28   those portions at trial. This motion addresses only the specific portions identified by the parties.
                                                          2
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 1    JX-022          Huawei             Entire document                Compelling Geiszler Declaration
      (Exhibit 3                                                        reasons    ¶¶ 4-5
 2    hereto)
 3    JX-027          Huawei             Entire document                Compelling Geiszler Declaration
      (Exhibit 4                                                        reasons    ¶¶ 4-5
 4    hereto)
      JX-097          Huawei             Entire document                Compelling Geiszler Declaration
 5    (Exhibit 5                                                        reasons    ¶¶ 4-5
      hereto)
 6
      JX-098          Huawei             Entire document                Compelling Geiszler Declaration
 7    (Exhibit 6                                                        reasons    ¶¶ 4-5
      hereto)
 8
            Parties seeking to seal judicial records relating to motions that are “more than tangentially
 9
     related to the underlying cause of action,” Ctr. for Auto Safety v. Chrysler Grp., 809 F.3d 1092, 1099
10
     (9th Cir. 2016), bear the burden of overcoming the presumption with “compelling reasons supported
11
     by specific factual findings that outweigh the general history of access and the public policies
12
     favoring disclosure,” Kamakana v. City & Cnty. of Honolulu, 447 F.3d 1172, 1178 (9th Cir. 2006),
13
     447 F.3d at 1178–79 (internal quotation marks and citation omitted). Compelling reasons justifying
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     the sealing of court records generally exist “when such ‘court files might have become a vehicle for
15
     improper purposes,’ such as the use of records to gratify private spite, promote public scandal,
16
     circulate libelous statements, or release trade secrets.” Id. at 1179 (quoting Nixon v. Warner
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     Commc’ns, Inc., 435 U.S. 589, 598). The United States Supreme Court has recognized that sealing
18
     may be justified to prevent judicial documents from being used “as sources of business information
19
     that might harm a litigant’s competitive standing.” Nixon, 435 U.S. at 598. The Ninth Circuit has
20
     held, and this Court has previously ruled, that “pricing terms, royalty rates, and guaranteed minimum
21
     payment terms” of patent licensing agreements plainly constitute trade secrets, and are thus sealable.
22
     In re Elec. Arts, Inc., 298 F. App’x 568, 569 (9th Cir. 2008); accord Dkt. 135 at 4.
23
            Here, as explained in the accompanying Declaration of Steven M. Geiszler (“Geiszler
24
     Decl.”), the identified portions of the parties’ designations of the Yu Deposition disclose royalty
25
     rates paid to Qualcomm, monetary amounts that Qualcomm claims Huawei owes, details of on-
26
     going license negotiations, and specific license provisions regarding rights obtained by Huawei or
27
     Qualcomm, in license agreements between Huawei Technologies Co. Ltd. and its foreign affiliates
28
                                                        3
                                            HUAWEI’S MOTION TO SEAL
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 1   and Qualcomm. Geiszler Decl. ¶ 4; see Exhibit 1 (yellow highlighted portions). Exhibit CX-1101

 2   discloses proposed license agreement terms, including royalty rates, regarding ongoing negotiations

 3   between Huawei and Qualcomm. Geiszler Decl. ¶ 4; see Exhibit 2. Exhibit CX-1011 also discloses

 4   specific terms of Qualcomm license agreements. Id. Exhibits JX-022, JX-027, JX-097, and JX-098

 5   are license agreements between Qualcomm and Huawei. Geiszler Decl. ¶ 4; see Exhibits 3-6. 2

 6             Huawei has a strong business interest in maintaining the confidentiality of its license terms

 7   and ongoing negotiations with Qualcomm, including royalty rates and the other information

 8   identified above. Geiszler Decl. ¶ 5. Within Huawei, access to such confidential information is

 9   restricted. Consistent with Huawei’s continuous efforts to ensure that its confidential licenses and

10   negotiations are not disseminated more widely than necessary, the documents containing this

11   information were produced as “HUAWEI CONFIDENTIAL – OUTSIDE ATTORNEYS’ EYES

12   ONLY” pursuant to the Supplemental Protective Order. (Dkt. 218). Id. Public disclosure of this

13   information would create an asymmetry between Huawei and its competitors and would hurt

14   Huawei’s competitive standing. Id. Disclosing this information would disadvantage Huawei when

15   negotiating with other licensors and licensees. Id.

16             Accordingly, Huawei respectfully moves to seal the above-listed information at trial.

17       Dated: January 3, 2019                        Respectfully submitted,
18                                                     SIDLEY AUSTIN LLP
19
                                                       /s/ David C. Giardina
20                                                     David C. Giardina (pro hac vice)
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24                                                     Attorneys for Huawei Device USA, Inc.
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     2
27     Huawei has filed each exhibit to this motion under seal. Huawei understands that the parties will
     introduce public versions of the exhibits, such as non-confidential portions of deposition testimony,
28   during trial.
                                                         4
                                              HUAWEI’S MOTION TO SEAL
                                             CASE NO. 5:17-CV-00220-LHK
         Case 5:17-cv-00220-LHK Document 1089 Filed 01/03/19 Page 5 of 5



 1                                     CERTIFICATE OF SERVICE

 2

 3          I declare that I, Nathan A. Greenblatt, am employed by the firm of Sidley Austin LLP,

 4   located at 1001 Page Mill Road, Building 1, Palo Alto, CA 94304.

 5          I declare that on January 3, 2019, I served a true and correct unredacted copy of Exhibits 1, 2,

 6   3, 4, 5 and 6 to Huawei’s Motion to Seal Certain Trial Testimony and Exhibits by electronically

 7   mailing it to the following addresses:

 8   Geoffrey Holtz                                                 gholtz@morganlewis.com
     Morgan Lewis & Brockius LLP
 9   101 Park Avenue
     New York, NY 10178-0061
10
     Kent Cox                                                       kcox@ftc.gov
11   Federal Trade Commission
     Bureau of Competition
12   600 Pennsylvania Avenue, NW
     Washington, DC 20580
13

14          I certify under penalty of perjury under the laws of the United States of America that the

15   foregoing information contained in the Certificate of Service is true and correct.
16

17   Dated: January 3, 2019                                                /s/ Nathan A. Greenblatt
                                                                           Nathan A. Greenblatt
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                                                          5
                                               HUAWEI’S MOTION TO SEAL
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